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        Cartels: the Probability of Getting Caught in
                     the European Union

           Emmanuel Combea, Constance Monnierb and Renaud Legalc


                                         BEER paper n° 12


                                             March 2008


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  a Emmanuel Combe: Professor at the University of Paris I Panthéon-Sorbonne, visiting professor at the
    College of Europe and member of the Board of the French Competition Authority.
  b Constance Monnier: PhD student at the University of Paris I Panthéon-Sorbonne, PRISM Sorbonne.
    Bureau E604, 17 rue de la Sorbonne 75005, email: constancemonnier@hotmail.com.
  c Renaud Legal: Researcher at the CNAMTS and at Paris IX Dauphine, LEGOS.
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                                            Abstract

    In 1991, Bryant and Eckard estimated the annual probability that a cartel would be
    detected by the US Federal authorities, conditional on being detected, to be at most
    between 13 % and 17 %. 15 years later, we estimated the same probability over a
    European sample and we found an annual probability that falls between 12.9 % and
    13.3 %. We also develop a detection model to clarify this probability. Our estimate is
    based on detection durations, calculated from data reported for all the cartels convicted
    by the European Commission from 1969 to the present date, and a statistical birth and
    death process model describing the onset and detection of cartels.


    En 1991, Bryant et Eckard estiment que la probabilité annuelle de détection des cartels
    qui seront finalement détectés par les autorités de concurrence américaines, se situe
    entre 13 et 17 %. 15 ans après, nous estimons cette probabilité sur un échantillon
    européen, et nous trouvons que cette probabilité se situe entre 12,9 et 13,3 %. De plus,
    nous développons un modèle de détection des cartels nous permettant d’expliciter cette
    probabilité. Notre estimation est basée sur les durées de détection de tous les cartels
    condamnés par la Commission européenne depuis 1969, et sur un modèle statistique de
    processus de vie et de mort décrivant la naissance et la détection des cartels.



    Keywords: Cartels, Duration Analysis, Birth and Death Process.



    JEL codes: L41, C34, C41.
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    1. Introduction
    The probability of detection plays a key role in the economics of crime, particularly in
    the literature related to optimal sanctions to be imposed on lawbreakers. Thus, in
    competition economics, particularly in studies on cartel dissuasion, this parameter is
    used to compute the optimal fine to be imposed on cartel members, so as to deter their
    formation. In a Beckerian perspective1, crime dissuasion implies that the illegal profit
    made by the cartel or damage caused to society2, is equal or inferior to the expected fine
    – which corresponds to average fine times the probability of getting caught. This value
    is very important to managers willing to join or create a cartel. The probability of
    detection is a determinant parameter of their utility function as cartel formation relates
    to decision making under uncertainty. Therefore, the estimation of cartels probability of
    detection is a crucial issue for antitrust authorities, in the view of designing an optimal
    policy regarding the fight against cartels.

    Unfortunately, very few studies are available on that subject. Bryant and Eckard (1991)
    were the first - and to the present date the sole - to estimate rigorously the probability of
    cartel detection. Their estimation was based on an American sample of cartels indicted
    by the DOJ3 between 1961 and 1988. Their paper became the most quoted work on this
    issue. Nevertheless, the results were often improperly quoted. In particular, in the
    literature related to optimal fines, the authors often refer to a value of 15 %, as the
    1
        Cf. Becker (1968).
    2
        Cf. Combe & Monnier (2007a). In the crime theory, the usual base is the damage caused to society, as
        it ensures that only efficient crimes occur – crimes for which the benefit from breaking the law
        exceeds the cost endured by the victims. In the specific case of a cartel, the illicit gain is always
        inferior to the damage inflicted to consumers - except in the case where price elasticity is zero, which
        implies that the two values are equal. Therefore, it seems more accurate to use the illegal profit as the
        agent decision to break the law depends on the expected net illegal gain, and not on the inflicted
        damage. For instance, this choice is the one made by Werden & Simon (1987).
    3
        Department of Justice.

                                                                                                                1
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    average probability of getting caught, as Bryant and Eckard estimated a probability that
    falls between 13 % and 17 %. But this 15 % rate is the annual probability of getting
    caught… for cartels which will eventually be detected. This feature can be explained by
    the fact that the sample on which was based their estimation comprised only convicted
    cartels, as - by definition - no data exists on cartels that went undetected. Thus, the
    estimated probability is not the global probability of detection. It is the probability of
    detection conditional on being detected on a given period. It is an upper bound of the
    global probability of detection in a given period and it is positively related to it.

    In this article, we will first present a model of cartel detection, so as to clarify the
    different processes and probabilities at stake- later on, it will allow us to interpret
    rigorously our estimates and to draw our conclusions. Second, we will explain the
    methodology used, regarding data collection and statistical processing. Last, we will
    expose and analyze our estimation and results.


    2. Cartel detection model
    2.1. Hypothesis

    Bryant and Eckard (1991) introduced a birth and death process to describe the dynamic
    that governs N(t), the number of cartels alive at time t. We also model cartel detection
    using this framework. However, contrary to these authors, in the following model, we
    consider three processes: one related to cartel birth, another to their natural death, and
    the last one governs their detection. Some cartels are detected while still active, and we
    suppose that detection triggers the breakup of the cartel- due to antitrust intervention. In
    other cases, cartels are detected ex post - i.e. after their death. Cartel lifetime is therefore
    deemed “natural”.4

    We must specify the three processes chosen - birth process, death process, detection
    process. First, we consider that cartels appear ones after the others according to a
    random variable. We denote Ai the time between the birth of the (i-1)th cartel and the
    birth of the ith cartel - inter-arrival times between the birth of successive cartels - and we
    hypothesize that the (Ai)i>0 are independently and exponentially distributed with mean
    (1/θ). Second, we suppose that each cartel i has a natural lifetime Di=D, independently
    and exponentially distributed with mean 1/ Λ . Last, we hypothesize that at a given time

    4
        As for them, Bryant & Eckard equate cartel death to detection - and therefore consider that cartel
        lifetime systematically equals the time required to detect the cartel.

    2
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    t, when the ith cartel appears, if n describes the number of cartels that will be detected,
    but not yet detected at time t, our new-born cartel has a qn probability to be subjected

    to the detection process (event E) and therefore to be detected in fine, and a (1- qn )

    probability not to be subjected to this process and hence to remain unknown (event E ).5
    In this latter case, the cartel will never be detected and will end due to natural causes.

    We suppose that the sequence ( qn )n∈N is decreasing6 and by the way of example that:

                                                                  1
                                                ∀n ∈ `, qn =
                                                                n +1

    If for the ith cartel born, the event E occurs, we suppose that the cartel is immediately
    subjected to the detection process. Therefore, at time t, we have N(t) cartels under
    investigation and there are all subjected to the detection process. We define this process
    in the following way: if we consider a cartel i that will get detected and if we denote Li
    the duration between its birth and its detection, we suppose that for any i, Li is
    exponentially distributed with mean (1/λ). Thus, cartels for which event E occurs, have
    a mean detection duration of (1/λ) and an instantaneous detection probability of λ.
    Finally, given the limited capacity of antitrust authorities - because of budget and legal
    constraints - we suppose that only Nmax cartels at most can be investigated at the same
    time, i.e. N(t) is bounded by Nmax.


    2.2. Main results in steady state

    We observe the system in steady state, a long time after the three processes have begun,

    so that initial conditions (starting date of the process for instance) have no incidence on

    the final result. We can classify cartels into three subpopulations:

    -   undetected cartels: population Ω1

    -   cartels detected ex post (after their natural death): denoted population Ω 2

    -   cartels detected alive: denoted population Ω3


    5
        Our framework is similar to a queuing model with discouragement: the service time corresponds to
        the duration required to detect the cartel and discouragement relates to cartels that will not be detected
        by antitrust authorities, as some cartels will never be detected - given the budget constraint and the
        limited investigation power of antitrust authorities.
    6
        Indeed, when a new cartel appears, the greater the number of cartels already under investigation, the
        lower the probability that this new cartel will be subjected to the detection process - antitrust
        authorities being busy.

                                                                                                                 3
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                          Figure 1: Cartel birth, death and detection process


                                                       u n d e te cted

                                                                                  detected ex p ost
                                                                                         0 2
                               Q
                                                         d etected

                                                            Ql



                       Birth                      Detection:
                                                            r                      d e t ected alive
                                                                                          03


    2.3. Process specification

    The process already described is markovian, inter-arrival times depending on the state
    of the system: at time t, if there are already N(t)=n cartels likely to be detected, the
    arrival of a new cartel occurs with a qn .θ intensity. For each new cartel subjected to the

    detection process, the detection duration follow an exponential law with parameter λ .
    Therefore, if n cartels are likely to be detected, the time to move to the state (n-1) is the
    minimum of n variables i.i.d. exponentially distributed with parameter λ , i.e. an
    exponentially distributed law with parameter n.λ . Hence, the transition rate from the
    state n to the state (n-1) is n.λ . This birth and death process7 admits the following state
    transition diagram:


                                     Figure 2: State transition diagram


                                               0/2
                                                                     • • •
                                                2.\


    This process is an infinite server queue (M/M/ ∞ type), with varying entering rates.




    7
        In this case, death is similar to detection. Death from natural causes is not taken into account, as we
        only focus on detection.

    4
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        -    At steady state, the law governing the number of cartels N subjected to the
             detection process at any time is defined as:

                                                            θ
    Let denote π n =Prob (N=n) and r =                          . We can show that:
                                                             λ
                                                     q0 × ... × qn −1 ⎛ θ ⎞
                                                                            n
                                                                                 1 n
                                                πn =                  ⎜ ⎟ π0 =        r .π 0
                                                       1× ... × n ⎝ λ ⎠        (n !)2

                                                                                     1
    With:                                                           π0 = N
                                                                               max   r n,
                                                                              ∑ 2
                                                                              n =0 ( n !)




        -    The global probability of detection is therefore:

    Let denote Π the global probability of detection:
                                    N max                                                                           N max
                          Π= ∑                  Prob (being detected| N=n). Prob(N=n)= ∑ qn .π n
                                    n=0                                                                              n =0


                                                                        N max −1
                                                                               rn
                                                                  ∑ (n !)2 (n + 1)
    This implies:                                        Π (r ) = n =0N
                                                                        max
                                                                              rn
                                                                       ∑ 2
                                                                       n =0 ( n !)


                                                                                           θ
            Figure 3: evolution of Π according to r =                                        for N max = 5 and N max = 100
                                                                                           λ



                   ••                                                                    ••
                   oa                                                                    oa

                   0 .7                                                                  0 .7


                   OB                                                                    OB


                   0 .5                                                                  0 .5


                   OA                                                                    OA


                   03                                                                    03


                   0 .2                                                                  0 .2
                                                 II(r)                                                                II(r)
                   .. ______________
                   o.,
                          ,_
                          o    10   m   ~   ®    ~   oo m w   ~   100
                                                                        r
                                                                                         o.,
                                                                                         •• .f-- - - - - - - - - - - - --
                                                                                                0   w m ~   ®   ~   oo ro   ~   ~   100
                                                                                                                                          r




        The limits found confirm our intuition:

        -    When r tends to 0, i.e. the birth rate is very low compared to the detection rate;
             the antitrust authorities can detect all new cartels.

                                                                                                                                              5
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        -    When r tends to infinite, the antitrust authorities are overwhelmed, more and
             more cartels are not subjected to the detection process and the global probability
             of detection tends to 0. Nevertheless, we note on figure 3 that the convergence
             towards zero is very slow. Therefore, Π increases with λ.

        -    The instantaneous probability of detection of a cartel that will be detected in
             fine:

    The instantaneous probability of detection of a cartel for which event E occurs is λ .
    Hence, λ is the instantaneous probability of detection of a cartel that will be detected in
    fine.


        -    The global instantaneous probability of detection π :

    A cartel that does not know whether it will be detected or not (i.e. if it is the event E or
    the event E that occurred) perceived the following instantaneous probability of
    detection:
                                                                       +∞
                                 π = EN [qN .λ ] = λ .EN [ qN ] = λ.∑ qn .π n
                                                                       n =0


    This implies:
                                                    π = λ .Π
    We note that λ is an upper bound of π .

    To sump up, it appears that one must distinguish between three different values:

        -    The instantaneous probability of detection for a cartel that will be detected: λ

        -    the global instantaneous probability of detection: π

        -    the global probability of detection: Π


    Bryant and Eckard (1991) estimated the instantaneous probability of detection for
    cartels that will be detected, which corresponds to λ . Considering that some cartels are
    never detected and remain unknown, the global probability of detection is necessarily
    inferior to λ 8. We formalized this intuition, proving that λ is an upper bound of the


    8
        Buccirossi & Spagnolo (2005) where the first to note that λ is the probability of detection in a given
        year if all cartels were detected with probability one. If 10 % were detected in fine, the global
        probability of being detected in a given year would amount to one tenth of λ . If 1 % of cartels were
        detected, it would equates to one hundredth of λ .

    6
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     global instantaneous probability of detection. Furthermore, the global probability of
     detection varies positively with λ .


     2.4. Birth and death process for the estimation

     Among all cartels born, we limit ourselves to the study of the sub-population of cartels
     eventually detected, these cartels being subjected to a simple life and death process
     (considering death as detection). The detection process is still characterized by the
     parameter λ . But the parameter that specifies the birth process is θ ’= ( θ |the cartel will
     be detected). It is linked to the θ parameter by the following relationship:
                                                                ⎡ 1 ⎤
                                    θ ' = EN [qN .θ ] = θ .EN ⎢        ⎥ = θ .Π
                                                                ⎣ N + 1⎦
     We can note that θ ’< θ : there are more cartels born than cartels finally detected - as
     some cartels remain unknown. As we do not have data on undetected cartels, we can
     only estimate the detection and birth process which applies to the subpopulation of
     detected cartels - of parameter λ and θ ’.

          -    First, λ is an upper bound of the global instantaneous probability of detection.
               And the global probability of detection varies positively with it. Hence, the
               higher λ , the greater the probability a cartel will be detected.

          -    Second, it is likely that, in their decision making, firms take into account the
               parameter λ , as the global probability of detection is unknown.9

     In this article, we will estimate the instantaneous probability of detection for a cartel
     that will be detected in fine, i.e. the value of the λ parameter. Our estimates are based
     on a sample of all the cartels detected and convicted by the European Commission from
     1969 to 2007.10 After the presentation of the methodology - regarding data processing
     and statistical estimation - we present the results of our study.




     9
          Particularly, if the value of λ is common knowledge, thanks to the work of economists, firms do not
          have a better knowledge of Π , the global probability than we do. Thus, managers may not take their
          decision on the basis of this global probability of detection Π .
     10
          From a database we created.

                                                                                                                7
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     3. Methology
     This work is based on the detection duration - duration between birth and detection - of
     cartels convicted by the European Commission, as no data exist on undetected cartels or
     non convicted ones. 11 Our sample encompasses 86 cases of cartels that have affected
                                                                                                            12
     European trade - at least two members states and/or the trade between members affected , and
                                                                                13
     convicted by the European Commission between 1969 and 2007.


     3.1. Computation of cartels detection duration

     Lifetimes and detection duration

     Cartels can break up because of detection or because they die “naturally”. We aim to
     estimate the probability of detection of a cartel, which corresponds to the period from
     the birth of the cartel to its detection. If the cartel is detected while it is still active14,
     before its natural death, then cartel lifetime equates its detection duration. But, when the
     cartel terminates from natural causes15 and is detected afterwards, detection duration is
     no more similar to lifetime, and we must reprocess these data. First, we will present the
     methodology related to lifetime computation, when it corresponds to detection duration.
     Then, we will study the case of naturally dead cartels, detected ex post. Concerning
     cartels detected alive - and therefore dead because of detection16- we have computed
     cartels lifetimes in days, using the estimation made by the European Commission to
     compute fines and reported in its decisions. In a number of cases, it is presumed that the
     cartel lasted longer than the duration used by the Commission-because of lack of proof.
     Therefore, durations used in our estimation may be underestimated and should be
     considered as lower bounds. In particular, the begin date of the cartel corresponds to the
     date for which the first evidence of collusion were found, and not necessarily to the
     actual starting date of the conspiracy. It is likely that the cartel date of birth is anterior to

     11
          Most of detected cartels are finally convicted, thanks to the introduction of leniency notice and the
          reinforcement of the investigation powers of antitrust authorities.
     12
          Criteria of affected trade as defined by the Commission in its Guidelines on the effect on trade
          concept contained in Articles 81 and 82 of the Treaty. Official Journal C 101, 27.04.2004, p. 81-96.
     13
          The first cartel convicted of our sample is the Quinine cartel in 1969 and the last one is the elevator
          one in February 2007.
     14
          Regarding cartel detection, we can distinguish between sector inquiry or a targeted one. These
          targeted inquiries can originated from a complaint from competitors or clients, or from a denunciation,
          which plays a key role since the introduction of leniency notice in the European Union in 1996, see
          Combe & Monnier (2007b).
     15
          Regarding cartels terminating from « natural » causes, we can distinguish cheating or withdrawal, the
          arrival of one or several new players in the market, others supply or demand changes-demand increase,
          advances in technology etc. - which influence the benefits of collusion, can provoke a break up.
     16
          These cartels represent 80 cases on the 86 cartels of our sample, which means the great majority.

     8
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     the date claim by firms or put forward by the Commission. The fine imposed on an
     undertaking being positively correlated to its involvement duration in the cartel, it is in
     the firm interest not to disclose the actual begin date of the collusive agreement.17

     Sometimes, it can happen that collusion goes on after the detection of the cartel by
     antitrust authorities.18 Nevertheless, we will not take into account this rare phenomenon,
     difficult to assess. In our study, we suppose that detection always triggers the death of
     the cartel. In all other cases, to calculate duration, we consider the ending date for which
     it has been proven that firms have stopped colluding.

     Furthermore, the duration of each undertaking own involvement in the cartel is not
     necessarily the same. Therefore, we use the global duration of the cartel, as indicated on
     the Commission’s decision.

     Last, we must explain how we dealt with successive or intertwined cartels or
     agreements. In a lot cases, firms have agreed to collude on several markets, i.e. on
     several products or geographic areas. 19 Moreover, it happens that some ended
     agreements are followed by new ones - successive agreements. 20 We can also
     distinguish between formal agreements and/or concerted practices - implying most of
     the time exchange of information - related to price fixing or market sharing. These
     practices are regrouped under the aegis of a sole cartel. Usually, the decision of the
     Commission reports only the global duration of the cartel and there is no distinction in it
     between different agreements, as the ruling of the Court of First Instance, refers to the
     concept of complex infringement.21 Nevertheless, in the three following cases: Vitamins


     17
          For more details, Levenstein & Suslow (2002) discuss the difficulty to date the beginning and the end
          of a cartel and make a review of the literature on this topic.
     18
          For instance, in its decision 94/599/CE regarding the PVC cartel in 1994- § 49 of the decision- the
          Commission explains that: “in the absence of information from the producers, it is not even possible
          to establish whether or not the collusion - in some form or other - has ever ended. Clearly the cartel
          continued after the Commission carried out its first investigations into the PVC sector in late 1983.
          The document found at Atochem shows that monitoring of sales quotas was being operated and
          information exchanged as late as May 1984. The phenomenon of initiatives involving several
          producers simultaneously attempting to raise price levels to a particular level was still being reported
          in the trade press at the time of the investigation in 1987”. Levenstein and Suslow (2006) also evoke
          the case of the Organic Peroxides, convicted in 2003.
     19
          For instance, the Vitamins cartel lasted for 10 years and relates to agreements on nine vitamins and
          four chemicals, and the 22 producers involved did not participate to all the agreements.
     20
          See for instance the Citric Acid cartel case.
     21
          Accordingly the ruling of the Court of First Instance “in the context of a complex infringement which
          involves many producers seeking over a number of years to regulate the market between them, the
          Commission cannot be expected to classify the infringement precisely, for each undertaking and for
          any given moment, as in any event both those forms of infringement are covered by Article [81] of the
          Treaty”, Judgment of the Court of First Instance of 20 April 1999 in Joined Cases T-305/94 to T-

                                                                                                                9
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     Cartel, Special Graphite Cartel, and Peroxygen Cartel, the Commission distinguishes
     between several agreements, denoted as sub-agreements - on different markets - of the
     same cartel, dividing up their durations. For these three cartels, we calculated the mean
     duration of the cartel – identifying and excluding naturally dead sub-agreements. For all
     other intertwined cartels, we take the global duration of the cartel, as reported in the
     decision of the Commission.

     Most decisions contain precise begin and end dates - day, month, year. But in some
     cases, only the year is given or the most precise identification is to the month 22 .
     Therefore, we used two methods to calculate cartel duration. The first method defines a
     minimum duration (DUR1) to be the period from the latest begin day to the earliest end
     day of the cartel - for instance if the decision indicates that the cartel began in 1971 and
     continued to at least October 1975, the latest begin day is December 31, 1971 and the
     earliest end day is October 1, 1975. The second method defines the maximal duration
     (DUR 2) to be the period from the earliest begin day to the latest end day. In the above
     example, the earliest begin day is January 1, 1971 and the latest end day is October 31,
     1975. These two measures give us a range of values and each is defined to include all
     cases in the sample. This method also corresponds to the methodology used by Bryant
     and Eckard.

     These strict hypotheses - in particular the use of lifetimes reported to compute fines -
     warrant that our results are reliable, as they are not based on assumptions or even strong
     presumptions. These durations correspond to lower bound, implying a possible
     overestimation of the probability of detection. The results of cartels lifetimes
     computations are sump up in the following table.

                                            Table 1: Cartel duration

                                          Median                     Mean                Standard Error
            DUR Min                         5,5                      7,46                     5,82
            DUR Max                        5,98                       7,8                      5,9




          307/94, T-313/94 to T-316/94, T-318/94, T-325/94, T-328/94, T-329/94 and T-335/94 Limburgse
          Vinyl Maatschappij and Others v Commission.
     22
          Particularly in the case of not yet published decisions.

     10
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                       Table 2: Comparison to other studies on cartel duration

                                            Mean          Median            Standard            Nb of cases
                                           Duration                           Error
            Bryant & Eckard (1991)            6.2            4.7                na                  184
          Zimmerman & Connor (2005)           6.3            4.4                na                  166
          Levenstein & Suslow (2006)          7.5             na                5.4                  72
              na: non available


     The average lifetime of a European cartel is about 7.5 to 7.7 years - the median is 6
     years, so as the standard error - which corresponds to the cartel duration computed in
     other works23, particularly in Levenstein & Suslow (2006).24


     3.2. Naturally dead cartels

     In some cases, the date at which the cartel breaks up does not correspond to its detection,
     and it happens that firms can prove that the cartel was no more active since many years.
     In our sample, contrary to what economic theory suggests25 convicted cartels are most
     of the time still active when the Commission starts its investigations, and terminate
     collusion after this intervention. Only 6 cartels 26 and 10 sub-agreements of our 86
     convicted cartels are naturally dead. 27 Contrary to Bryant and Eckard we computed
     detection durations of these naturally dead cartels. Their lifetimes are shorter than their
     detection durations, by definition. Hence, we add to the computed lifetimes, the
     duration between the natural death of the cartel and its detection. Therefore, the data
     related to those cartels are similar to the one related to cartels detected alive. The
     estimated probability is therefore a probability of detection. This specific processing
     also allows us to focus on two processes - birth and detection - and to avoid the complex
     distinction between cartels naturally dead and detected ex post and cartels dead because
     of detection.
     23
        The minimum duration is less than three months for the French Beef Cartel and the longest one which
        last 29 years is the Organic Peroxide Cartel. Most of our cartels are dead because of prosecution.
        Therefore detection durations are almost similar to cartels durations in our study.
     24
        Their work is based on cartels convicted by the DOJ and the European Commission.
     25
        According to Stigler (1964), once firms have decided to form a cartel, each undertaking has an interest
        to cheat and to lower its price. See also Armentano discussion on cartel instability (1996). But
        d’Aspremont and Jacquemin (1996) showed that Stigler had neglected the impact of a withdrawal or
        of an entry of an undertaking on prices and profits.
     26
        The Quinine Cartel condemned in 1969, the Zinc Producers Group Cartel condemned in 1984, the
        FENEX Cartel condemned in 1996, the Ferry Operators Cartel condemned in 1996, the Citric Acid
        Cartel 2001, the Peroxygen Products Cartel condemned in 1984 and the Hydrogen Peroxide and
        Perborate (PBS) Cartel condemned in 2006.
     27
        Nine sub-agreements of the vitamin cartel are dead before their detection because of the increase in
        Chinese imports, and one sub-agreements of the Specialty Graphite Cartel.

                                                                                                              11
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     3.3. Is detection duration a random variable?

     Bryant and Eckard regressed cartels lifetimes on two different explanatory variables: the
     number of undertakings involved and their market shares. Comme aucune de ces
     variables n’est explicative, les auteurs en concluent que la durée de vie d’un cartel peut
     être traitée comme une variable aléatoire. Neither variable is correlated with their cartel
     duration measures. Thus, the authors conclude that cartel duration can be viewed as a
     random variable.

     According to them, cartel duration should be longer the fewer the number of firms
     involved and the larger their market share, ceteris paribus. While these hypotheses are
     clear for cartel natural duration - i.e. for cartel terminating for “natural” causes, e.g.,
     cheating, or irreconcilable differences among conspirators. It is less clear that they apply
     to cartel dead by detection.

     As for us, we regress cartel detection duration on four explaining variables28 - number
     of undertakings, professional organization involvement, cartel dimension (global,
     European or national) and industry specific conditions - which economic theory29 and
     empirical studies 30 suggest should be related to cartel duration. Particularly, these
     factors can apply to detection duration and therefore to a sample of cartels terminated as
     a result of investigation31. Indeed, the greater the number of firms involved, the more
     likely is detection: numerous pieces of evidence, higher risk of denunciation. The
     industry in which the cartel operates could also influence the detection process.
     Moreover, cartel dimension can contribute to make detection more likely.32 As cartel
     dimension widen, detection duration should decrease. Indeed, international - or global -
     cartels can be detected both in Europe and in the United States. European cartels can be
     caught by any national competition authority inside the European Union. Last, the
     intervention of a professional organization should influence the probability for a cartel
     to be detected, but it is difficult to predict how - a better organization implies a lower
     risk of detection but also a greater visibility towards competition authorities. Indeed,
     some markets are more transparent than others, and the detection of anticompetitive

     28
          It corresponds to cartel duration in most of cases.
     29
          Motta (2004) analyses the main factors of stability of cartels.
     30
          See Zimmerman & Connor (2005), Levenstein & Suslow (2006), Combe & Monnier (2007) for an
          empirical study the determinants of cartel duration.
     31
          As a matter of fact, the determinants of cartel detection are not necessarily the same as the
          determinants of cartels natural breakup.
     32
          In some cases, it can be difficult for national antitrust authorities to convict international cartels
          because of the problems related to the extraterritorial application of antitrust law. See Jenny (2003).

     12
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     collusion should be easier in these industries - that can be subject to a specific
     monitoring from antitrust authorities. Neither variable is correlated to our cartel duration
     measures at a 5 % threshold.33 As Bryant and Eckard, we therefore consider detection
     duration as a random variable. And this assertion justifies the fact that we apply a single
     birth a death process on the overall sample.


     4. Estimation and empirical results

     4.1. Estimation of the instantaneous probability of detection

     We use a birth and death process, a continuous Markov chain, to describe N(t), the
     number of cartels alive at a time t. Suppose at time t=0 there exist no cartel. A any time
     t>0, we suppose that in a short interval of time from t to t+h, only three changes in N(t)
     are possible for h sufficiently small:

              -Let N(t) changes from N(t) to N(t)-1 with probability λ.h+o(h)
              -Let N(t) changes from N(t) to N(t)+1 with probability θ.h+o(h)
              -Let N(t) remains unchanged with probability 1-(λ+θ).h+o(h)


     Li denotes the random variable relating to the detection duration of the ith cartel and Ai,
     the duration between the birth of the (i-1)th cartel and the birth of the ith cartel - which
     corresponds to inter-arrival times between the births of successive cartels.

     In such a process, the (Li)i=1.. and the (Ai)i=1.. are independently and exponentially
     distributed with means 1/λ and 1/θ respectively:

                                              ∀i=1.. n, Li∼Exp(λ)
                                              ∀i=1.. n, Ai∼Exp(θ)

     To justify the use of exponential laws, and to see how close our assumption of
     exponentially fits the inter-arrival times and duration data, we make the following
     verification: if the random variable Li is exponentially distributed with means 1/λ, its
     distribution function is F(x)=1-exp(- λ x) and therefore, log[1-F(x)]=- λ x. We do not
     know F(x), but we can estimate the empirical cumulative distribution function Fˆ ( x) =
     (number of observations ≤ x )/(total number of observations). In order to verify that the

     « Li∼Exp( λ ) » we analysis the figure of the function x→log[1- Fˆ ( x) ]. For an

     33
          See Appendix A.

                                                                                                         13
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     exponential distribution, it should be approximately linear in x , which is verified on the
     figures below. We apply the same reasoning for the Ai. The R2 are very high: 0.9822 for
     detection duration and 0.9539 for inter-arrival times between successive births .These
     results justify our choice of exponential process.


               Figure 4: Exponential fit of detection durations inter-arrival times

                                            Exponential fit of detections durations

                        log[1-F(x)]

                          0,5



                             0
                                 0                 2000   4000      6000          8000


                          -0,5



                            -1



                          -1,5
                                                                     2
                                                                   R = 0,9822

                            -2

                                                                                         Li



                                     Exponential fit of cartels inter-arrival times
                        lo g[ 1- F ( x) ]

                                              0
                                                   0        500            1000
                                            -0,2

                                            -0,4

                                            -0,6

                                            -0,8

                                              -1

                                            -1,2

                                            -1,4

                                            -1,6

                                            -1,8

                                             -2
                                                            R2 = 0,9539
                                                                                    Ai




     Furthermore, we suppose that the process begins at time T0, which is unknown, but that
     we observe the process for cartels dead between [T1, T2] with T2>T1>T0. It implies that
     we have censored data - as cartels alive both at time T2 and T1 won’t be observed - and
     it makes the estimation more complex.



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     We use the maximum likelihood estimation method for right censored data. Therefore,
     the parameters λ and θ are estimated by the maximum likelihood method, as derived as
     followed34:
                                                                               n
                        V ( L1 ,..., Ln ) = θ n λ n exp[−θ (T2 − T1 )]exp[−λ ∑ Li ]exp( w)
                                                                              i =1

     With w = (θ / λ ) exp[−λT1 ]{1 − exp[−λ (T2 − T1 )]} .
     And λ is an estimate of the instantaneous probability of detection of cartels that will
     finally be detected.

     4.2. The beginning of the process
     As we can notice, the estimation of λ is function of the value of the T1 and T2
     parameters, themselves depending on the value of T0. Therefore, the method requires us
     to specify not only the sample period but also how long the process had continued
     before we began our observation. Instead of making a unique choice for T0, we
     estimated the value of λ for different values of T0. It appears that for value of T0 inferior
     to 1930, the estimation of λ is no longer sensible to the choice of T035. Indeed, as one
     can observe on the figure below, any choice of T0<1930 allow us to consider that the
     birth and death process has reached a steady state. Therefore we suppose that T1 is large
     enough, the process has reached a steady state.


                           Figure 5: Lambda sensitivity to the choice of T0

                       Value of lambda


                               13
                             12,5
                               12
                                                                   --- """"-
                             11,5                                            "-
                               11                                                    '-.
                             10,5
                               10
                              9,5
                                                                                      ' '-...
                                9
                              8,5
                                8
                                1900     1910     1920     1930     1940     1950          1960

                                                                                      Value of T0




     34
          See APPENDIX Bryant & Eckard (1991).
     35
          Bryant & Eckard (1991) estimate their parameters for T0 values ranging from 1861 to 1936, and show
          that the estimation of the process reaches a steady state if we consider T1 as large enough.

                                                                                                           15
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     Under the hypothesis related to the simple birth and death process model36, and given
     the censored data, the number of cartels alive at time t, N(t) with T1<t< T2 has a Poisson
     distribution with mean (θ / λ ){1 − exp[−λ t ]}{1 − exp[−λ (T2 − t )]} , which can be simplified

     in (θ / λ ){1 − exp[ −λ (T2 − t )]} under the additional assumption that T1 is large enough. In
     this case, as t gets closer to T2, N(t) should decrease, which is empirically verified, as
     we can see on the figure bellow:


                                                       Figure 6: Number of cartels alive at Time t



                                                  35
                        Number of Cartels Alive




                                                  30
                                                  25
                                                  20
                                                  15
                                                  10
                                                   5
                                                   0


                                                                             Years


     4.3. Results
                                                            Table 3: Parameters estimates

                                                                  λ*           1/λ**           0***         1/0****
      DUR1                 Days                                   0.000363     2753            0.02         50
                           Years                                  0.132        7.533           7.3          0.137

      DUR2                 Days                                   0.000347     2880            0.02         50
                           Years                                  0.129        7.702           7.3          0.137

                   *                  Probability of cartel detection on a given day or year
                   **                 Mean detection duration
                   *** Probability of cartel birth on a given day or year
                   **** Mean inter-arrival times

     The results of the estimation of our parameters are sum up in table 3. As we can see, the
     detection duration is on average 7 years - 1/λ corresponds to the mean detection
     duration - and a new cartel eventually detected is born every 6 months, as 1/θ represents

     36
          The Li and Ai are independently and exponentially distributed: ∀i=1..n, Li∼Exp(λ) et Ai∼Exp(θ).

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     mean inter-arrival times in days or years. The probability of detection in a given year
     conditional on being detected is between 12.9 % and 13.2 %, which represents an upper
     bound of the global probability of detection. Therefore, the probability of detection in a
     given year is at most between 12.9 and 13.2 %. Bryant and Eckard showed that the
     average cartel lasted about five to seven year, and that a new cartel that will be finally
     detected was born about every 54 days - seven per year on average. Their probability of
     getting caught in a given year for a cartel, given that it will finally be detected, was
     between 13 % and 17 %.


     5. Conclusion

     Bryant & Eckard (1991) were the first to estimate probability of cartel detection. Their
     estimation was based on an American sample of cartels indicted by the DOJ between
     1961 and 1988. They obtained an annual probability of detection conditional on being
     detected between 13 % and 17 %. Using the same framework, we calculated the
     detection duration and the probability of detection - if all cartels were eventually
     convicted - over the sample of all the cartels convicted by the European Union from
     1969 to 2007. Our detection duration is about 7 years and a new cartel, which will
     eventually detected, is born every 6 months The probability of getting caught in a given
     year, conditional on being detected, is between 12.9 % and 13.2 %, which represents an
     upper boundary to the global probability of detection. Therefore, the probability of
     detection in a given year is at most between 12.9 % and 13.2 %.

     On the basis of these two studies, it is interesting to compare the probability of detection
     between geographic areas -and therefore to evaluate the respective efficiency of various
     antitrust policies. At first glance, the probability of detection being higher in the United
     States, one could conclude that the American antitrust authorities are more efficient in
     detecting cartels than the European Commission.

     Nevertheless, differences in the methodology, particularly relating to data collections,
     may also explain this discrepancy, regardless efficiency criteria:

     - Bryant and Eckard used data less precise than ours. As a matter of fact, starting and
        ending dates of their sample are vague, which gives them a large range of
        probabilities, and undermines the significance of the spread between our results and
        theirs.


                                                                                                         17
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     - Regarding naturally dead cartels, our data processing enables us to estimate detection
          durations, which is not the methodology followed by Bryant and Eckard. As they do
          not differentiate between naturally dead cartels and cartels terminating because of
          detection 37 , their estimation is biased. They estimate a death probability, not
          necessarily equivalent to the probability of detection, if some cartels died naturally
          and were detected ex post. By definition, these cartels have shorter lifetimes than
          detection duration. 38 Therefore, their probability could be overestimated as their
          sample might include such cases.

     - The study of Bryant and Eckard is based on American cartels-cartels indicted by the
          DOJ- most of which being probably national cartels. Regarding our sample, more
          than half of the cases are European cartels -at least two affected members- a quarter
          of the cases are global -defined as affecting Europe as well as at least one other
          major region of the world-, and less than 25 % of cartels are national –affecting a
          single member state and European trade. Hence, more than two third of the sample
          relates to international cartels. As Connor (2003) pointed out, durations of
          international cartels are typically longer than national ones.39


     We could also assess antitrust efficiency in detecting cartels across time. Particularly,
     the introduction of leniency programs in the European Union in 1996, should have
     contributed to reinforce the probability of detection. We do not have enough hindsight,
     and not enough data, to estimate the probability of detection over a recent period. It is
     too soon for us to assess these long terms effects, but it is an important topic for future
     research, as it would enable us to assess rigorously the effect of leniency programs on
     cartels detection, and therefore to evaluate precisely their efficiency- which has never
     been down 40 . We can already note that after 1996, in eight years, 40 cartels were
     detected, which corresponds to 5 detection per year on average, whereas before 1996 -in
     28 years- we count 46 detected cartels, implying 1.64 detection per year in average.
     This sharp increase of detected cartels could be explained by the introduction of


     37
          Their estimates are based on lifetimes and not on detection durations.
     38
          For instance, regarding the vitamin cartel, naturally dead sub-agreements were shorter than the ones
          terminated because of the cartel detection.
     39
          Connor showed that global cartels have a lifetime 55 % higher than lifetimes of other cartels, and that
          regional cartels have a lifetime 40 % higher than national ones. In our sample, most of cartels were
          detected while alive and broke up after antitrust intervention. Hence, in our study, cartels durations
          correspond approximately to detection durations. It allows us to refer to others studies on cartels
          lifetimes and to compare our work to the one of Bryant and Eckard.
     40
          To our knowledge.

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     leniency programs 41 . Indeed, in the first time, if these programs are efficient, their
     introduction should have contributed to an increase of the probability of detection, as
     these programs imply a reduction of investigations costs, they facilitate inquiries and
     evidence collection, and jeopardize cartel stability. On the long run, these programs
     should dissuade cartel formation42 and therefore, we could also observe a reduction in
     the number of detected cartels -if fewer cartels form. Nevertheless, as Motta and Pollo
     (2003) showed, these programs can also have a counter productive effect. Indeed,
     reducing the expected fines help sustain collusive agreements and foster collusion.




     41
          See appendix B. Nevertheless, this increase of the number of detected cartels should be put into
          perspective with the number of birth. As some cartels remain undetected, we only have the
          subpopulation of cartels dead from detection.
     42
          Aubert, Rey, Kovacic (2006).

                                                                                                             19
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     APPENDIX


     A- Determinants of Duration

     Variables                                                  Parameter             Standard        t value                   II
                                                                                                                           Pr > t
                                                                 estimate               Error
     Intercept                                                    3064.52389          624.20184           4.91              <.0001
     Nb                                                              36.57548          33.20373           1.10              0.2741
     Undertakings
     Trade                                                        -629.09560          557.77615           -1.13              0.2629
     Association
     Dimension         Ref= Europe
                       Global                                       71.26517          653.59000           0.11               0.9135
                       National                                    141.74111          615.62781           0.23               0.8185
     Industry          Ref= Europe
                       Metal & non-metallic products              -422.50164       773.94921              -0.55              0.5867
                       Machinery & equipment                      -362.96977       770.09302              -0.47              0.6388
                       Construction-textile                       1395.29539      1380.11512               1.01              0.3152
                       Services                                   -821.16814       761.09654              -1.08              0.2840
                       Food products beverage and                -1099.39343       840.50226              -1.31              0.1948
                       tabacco




     B- Number of Detection (3 Years Moving Average)

     Number of detected cartels
             •

                                                                                          (\
             •
             5
                                                                                                 \
                                                                                !\                   \\
             •
                                                                                / V
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                                                    I
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             0


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